                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JOHN and JANE DOE, AS NEXT   §
FRIENDS OF CHILD DOE, A MINOR§
                             §
     Plaintiffs              §
vs.                          §
                             §
LA VERNIA INDEPENDENT SCHOOL §                       CIVIL ACTION NO.: 5:17-cv-1195-OLG
DISTRICT                     §
                             §
     Defendants              §                               JURY DEMAND

           DEFENDANT LA VERNIA INDEPENDENT SCHOOL DISTRICT’S
     12(b)(6) MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Defendant La Vernia Independent School District (“District”) and files

this Motion to Dismiss Plaintiffs’ First Amended Complaint for Failure to State a Claim Upon

Which Relief Can Be Granted, and shows the Court the following:

                                 I. STATEMENT OF THE CASE

1.     Plaintiffs filed their Original Complaint on April 11, 2017, Civil Action No. 5:17-cv-

00310-OLG. See Dkt. No. 1, p. 1. The District filed its motion to dismiss, but on July 24, 2017,

Plaintiffs and Defendant entered a Stipulation of Dismissal Without Prejudice, dismissing

Plaintiffs’ claims due to the health of Plaintiffs’ former attorney, J.K. Ivey. See Dkt. No. 1, p.1.

Plaintiffs refiled their lawsuit on November 21, 2017. Dkt. No. 1.

2.     On December 19, 2017, the District filed its 12(b)(6) motion to dismiss Plaintiffs’

Original Complaint. Dkt. No. 4. On December 27, 2017, Plaintiffs filed a Motion for Leave to

Amend Plaintiffs’ Original Complaint, attaching Plaintiffs’ First Amended Complaint as an

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Exhibit. Dkt. No. 6. The Court has not yet ruled on Plaintiffs’ motion requesting leave to amend

their Complaint, but because it seems likely that the Court will grant Plaintiffs’ request to amend,

the District files this motion to dismiss Plaintiff’s First Amended Complaint in the interest of

conserving judicial resources.

3.     In their First Amended Complaint, Plaintiffs assert a single claim under Title IX against

the District for deliberate indifference to peer-based sexual harassment. Dkt. No. 6-1, ¶ 5.

Specifically, Plaintiffs John and Jane Doe, as parents and next friends of the minor Child Doe,

allege that Child Doe suffered bullying, hazing, and sexual abuse inflicted by other students

while attending the LVISD’s high school during the academic years of 2015-2017. See Dkt. No.

6-1. Defendant LVISD timely files this motion to dismiss, asking the Court to dismiss Plaintiffs’

First Amended Complaint with prejudice, in its entirety.

                           II. MOTION TO DISMISS STANDARD

4.      Dismissal is appropriate under Rule 12(b)(6) for “failure to state a claim upon which

relief can be granted.” Fed.R.Civ.P. 12(b)(6). Rule 12(b)(6) must be read in concert with the

pleading standard set forth in Rule 8(a), which requires “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2); see Ashcroft v. Iqbal, 556

U.S. 662, 677–68 (2009). In order to survive a motion to dismiss, plaintiffs must provide the

grounds of entitlement to relief, which “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007) (internal citations omitted). Indeed, the complaint must contain

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim has facial

plausibility when the pleaded factual content allows the court, drawing upon its ‘judicial



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experience and common sense,’ to reasonably infer that the defendant is liable for the

misconduct alleged.” Aleman v. Edcouch Elsa Indep. Sch. Dist., 982 F. Supp. 2d 729, 732 (S.D.

Tex. 2013) (citing Iqbal, 556 U.S. at 678, Twombly, 550 U.S. at 556). “But where the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the

Petition has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Iqbal, 556

U.S. at 679 (quoting Fed.R.Civ.P. 8(a)(2)). “Thus, although all reasonable inferences will be

resolved in favor of the plaintiff, the plaintiff must plead ‘specific facts, not mere conclusory

allegations.’” Tipps v. McCraw, 945 F. Supp. 2d 761, 765 (W.D. Tex. 2013) (citing Tuchman v.

DSC Commc'ns Corp., 14 F.3d 1061, 1067 (5th Cir.1994)).

                            III. ARGUMENTS AND AUTHORITY

A.     PLAINTIFFS HAVE FAILED TO STATE A CLAIM FOR VIOLATION                 OF   TITLE IX   OF THE
       EDUCATION AMENDMENTS, 20 U.S.C. § 1681, ET SEQ.

       1. In their First Amended Complaint, Plaintiffs have failed to allege facts showing
          actual knowledge of severe and pervasive sexual harassment.

5.     Title IX provides that "[n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subject to discrimination under

any program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Entities that

receive federal funding may be liable under Title IX for student-on-student harassment only if

they are “deliberately indifferent to sexual harassment, of which they have actual knowledge,

that is so severe, pervasive, and objectively offensive that it can be said to deprive the victims of

access to the educational opportunities or benefits provided by the school.” Davis v. Monroe

County Bd. of Educ., 526 U.S. 629, 650 (1999). Specifically, before a private party may bring

suit under Title IX against a school district, the plaintiff must show: “(1) the school had actual

knowledge of the harassment; (2) the harasser was under its control; (3) the harassment was


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based on sex; (4) the harassment was so severe, pervasive, and objectively offensive that it

effectively barred his access to an educational opportunity or benefit; and (5) the school was

deliberately indifferent to the harassment.” Id. at 633, 646-47 (internal citations and alterations

omitted).

6.     “Simply because an act could be characterized as sexual harassment does not mean that it

automatically rises to a level of severity that deprives a student of access to educational

opportunities.” Watkins v. La Marque Indep. Sch. Dist., 308 Fed. Appx. 781, 783 (5th Cir. 2009);

see also Gabrielle M. v. Park Forest-Chicago Heights, Ill. Sch. Dist. 163, 315 F.3d 817, 822 (7th

Cir.2003)). “Whether gender-oriented conduct rises to the level of actionable harassment thus

depends on a constellation of surrounding circumstances, expectations, and relationships.” Davis,

526 U.S. at 651, 119 S.Ct. 1661 (internal quotation marks and citation omitted). The Davis court

also admonished trial courts to take into account “that children may regularly interact in a

manner that would be unacceptable among adults.” Id.

7.     Despite amending their Complaint, Plaintiffs have not alleged well-pleaded facts showing

actual knowledge and deliberate indifference to severe and pervasive student-on-student sexual

harassment. Plaintiffs’ only well-pleaded allegation of actual knowledge of sexual harassment by

a District official is that teacher Bethany Becknell “had heard about” one instance of alleged

assault perpetrated by LVISD varsity football players and occurring at an out-of-town football

game. Dkt. No. 6-1, ¶¶ 10-11. Plaintiffs allege that Ms. Becknell responded by telling the

students “it was wrong” and to “cut it out”; advising students that she had sent an email to

Athletic Director Brandon Layne and “it would be taken care of”; and speaking directly with

Child Doe to assure him that it would be handled. Dkt. No. 6-1, ¶ 11. Plaintiffs allege that on the

same day, the Mr. Layne dismissed the Junior Varsity players and convened a meeting of the



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varsity football players, where he told the players he had heard about the “initiations” and

directing them to stop or there would be consequences. Dkt. No. 6-1, ¶ 12. Plaintiffs allege that

the Athletic Director also requested that Coach Keith Barnes be present in the locker room at all

times before practice. Dkt. No. 6-1, ¶ 12.

8.     The only other allegation in Plaintiffs’ First Amended Complaint that even references a

District employee asserts that on a single occasion in the indoor practice facility by the weight

lifting area, a senior football player “flipped” Child Doe over and threatened him with a metal

pipe. Dkt. No. 6-1, ¶ 18. Plaintiffs do not allege that the unidentified coach witnessed this alleged

incident. Dkt. No. 6-1, ¶ 18. In fact, Plaintiffs allege that the senior dropped the pipe and walked

away when the unidentified coach entered the room. Dkt. No. 6-1, ¶ 18.

9.     Taking all well-pleaded facts as true, despite amending their complaint, the single event

which any District employee is alleged to have actual knowledge of was not so severe, pervasive

and objectively offensive to deprive access to education. See, e.g. Watkins v. La Marque Indep.

Sch. Dist., 308 Fed. Appx. 781, 784 (5th Cir. 2009)(finding that a student’s actions--exposing

himself, kissing, and lifting the skirt of a high school student with special needs--while

unquestionably inappropriate, the event was not so severe, pervasive and objectively offensive to

deprive her of access to education and thus was not actionable under Title IX); Gabrielle M. v.

Park Forest-Chicago Heights, IL. Sch. Dist. 163, 315 F.3d 817, 821 (7th Cir. 2003)(involving a

male kindergarten student openly fondling himself and placing his hand in the pants of several

students); Wilson v. Beaumont Indep. Sch. Dist., 144 F.Supp.2d 690, 694-96 (E.D.Tex.2001)

(involving a single incident of forced sodomy).

       2. In their First Amended Complaint, Plaintiffs have failed to allege facts showing
          the District was deliberately indifferent.




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10.    The Supreme Court made clear in Davis that Title IX does not require funding recipients

to remedy peer harassment. Davis, 526 U.S. at 648-49. Davis explicitly disapproved of a

standard that would force funding recipients to suspend or expel every student accused of

misconduct or force administrators to engage in particular disciplinary action. Id. All that Davis

requires is that the District not act clearly unreasonably in response to known instances of

harassment. Id. (emphasis added).

11.    “Deliberate indifference is a high bar, and neither negligence nor mere unreasonableness

is enough.” Sanches v. Carrollton-Farmers Branch Indep. Sch. Dist., 647 F.3d 156, 167 (5th Cir.

2011). Instead, a school’s response must be “clearly unreasonable in light of the known

circumstances.” Davis, 526 U.S. at 648. A district’s response need not be effective in remedying

the harassment of which it has actual knowledge, and no particular remedial action is required.

Sanches, 647 F.3d at 168. Courts are to “refrain from second-guessing the disciplinary decisions

made by school administrators,” who “must merely respond to known peer harassment in a

manner that is not clearly unreasonable.” Davis, 526 U.S. at 648, 649.

12.    Plaintiffs’ only allegation of actual knowledge, obtained third-hand by the teacher and

relayed third-hand to the athletic director, resulted in swift denunciation of the activity by both

the teacher and the athletic director, a directive to the students to cease the activity or face

consequences, and putting in place additional supervision of the locker room, according to

Plaintiffs’ own allegations. See Dkt. No. 6-1, ¶¶ 11-12. While Plaintiffs allege that additional

incidents occurred, they do not allege any actual knowledge of those incidents by any District

employee, and without actual knowledge there can be no deliberate indifference.

13.    The Fifth Circuit has consistently held that the “[t]he deliberate indifference standard is a

high one,” and “[a]ctions by officials that are merely inept, erroneous, ineffective, or negligent



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do not amount to deliberate indifference….” Doe on Behalf of Doe v. Dallas Indep. Sch. Dist.,

153 F.3d 211, 219 (5th Cir. 1998). Deliberate indifference is found only where there is “an

official decision by the [district] not to remedy the violation.” Gebser, 524 U.S. 290. Plaintiffs

have failed to show, through well-pleaded factual allegations, that the District was deliberately

indifferent to known student-on-student sexual harassment. “Title IX does not require flawless

investigations or perfect solutions.” Sanches, 647 F.3d at 170. “A state actor's failure to alleviate

‘a significant risk that he should have perceived but did not,’ while ‘no cause for

commendation,’ does not rise to the level of deliberate indifference.” McClendon v. City of

Columbia, 305 F.3d 314, 326 (5th Cir. 2002). “[T]here is no reason why courts, on a motion to

dismiss, for summary judgment, or for a directed verdict, could not identify a response as not

‘clearly unreasonable’ as a matter of law.” Davis Next Friend LaShonda D., 526 U.S. at 649.

Plaintiffs’ First Amended Complaint is devoid of well-pleaded facts tending to show that the

District violated Title IX and should be dismissed.

           3. The Supreme Court has rejected any theory of Title IX liability predicated
              on failure to train, failure to implement policies, or failure to comply with
              administrative regulations.

14.    In their First Amended Complaint, Plaintiffs also allege that the District violated Title IX

through its alleged failure to have policies, procedures, practices, and customs in place to assure

that Child Doe was not a victim of sexual abuse, that those policies violated state law, and that

the District did not follow them or properly train its staff on them. See Dkt. No. 6-1, ¶¶ 23-27.

Plaintiffs also allege that the District could be held liable under Title IX based on constructive

notice, citing a 1993 National School Boards Association publication in support. Dkt. No. 6-1, ¶

31. None of these allegations can state a claim under Title IX, as these standards for liability

have been considered and expressly rejected by the Supreme Court.



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15.    Plaintiffs’ Title IX claim premised on the District’s alleged failure to have effective

policies, procedures or customs, or to effectively implement such policies was considered and

expressly rejected by the Supreme Court in Gebser v. Lago Vista Independent School District,

524 U.S. 274, 290-91 (1998). Gebser furthermore specifically held that while Title IX’s

administrative regulations could form the basis of an investigation by the Department of

Education, a funding recipient’s liability for money damages could not be predicated on a failure

to comply with administrative regulations. Id. at 291-92. Plaintiffs appear to urge their Title IX

theory of liability based on allegations that the District violated the same administrative

regulations, and the same failure to have, train, and implement policies which Gebser rejected as

a basis for Title IX suit. Compare, Dkt. 6-1 and 524 U.S. at 291-92. The Gebser Court clearly

articulated the specific and sole standard for Title IX liability, which requires: proof that (1) a

school district official with the authority to address the alleged discrimination and to institute

corrective measures on the district’s behalf (2) had actual knowledge of the discrimination in the

district’s programs and (3) responded with deliberate indifference to discrimination. Id. at 290-

91. The Supreme Court has “never held, however, that the implied private right of action under

Title IX allows recovery in damages for violation of…administrative requirements.” Id. at 292

16.    The Supreme Court has also consistently rejected both the use of agency principles to

impute liability to a school district for the misconduct of students and the use of a negligence

standard, explicitly rejecting any theory of liability premised on its failure to respond to

harassment of which it knew or should have known. Gebser, 524 U.S. at 283); Davis, 526 U.S. at

642. Instead, the Supreme Court concluded that Title IX liability lies only where the district itself

intentionally acted in clear violation of Title IX by remaining deliberately indifferent to acts of

severe and pervasive harassment by other students. As the Supreme Court made clear in Gebser



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and Davis, Title IX liability cannot be premised upon policies, procedures, practices, and

customs the District allegedly failed to promulgate or failed to implement; Title IX liability

attaches only upon actual notice of sexual harassment to a District employee with supervisory

authority followed by a deliberately indifferent response. While Plaintiffs’ Amended Complaint

raises serious concerns about the alleged behavior of some district students, it is devoid of well-

pleaded facts tending to show that the District violated Title IX and should be dismissed

accordingly.

B.     PLAINTIFFS CANNOT RECOVER PUNITIVE DAMAGES.

17.    Plaintiffs request punitive/exemplary damages. Dkt. No. 6-1, ¶ 33. However, Title IX

punitive damages are unavailable against the District. Title IX is modeled after Title VI of the

Civil Rights Act of 1964 and interpreted and applied in the same manner. Barnes v. Gorman, 536

U.S. 181, 185 (2002). Federal funding recipients under Title VI “have not, merely by accepting

funds, implicitly consented to liability for punitive damages.” Id. at 188. Thus, punitive damages

are not available in private action brought to enforce Title IX.          See, e.g. Mercer v. Duke

University, 50 Fed.Appx. 643, 644 (4th Cir.2002). Plaintiffs’ request for punitive or exemplary

damages should be dismissed as a matter of law.

                                          IV.
                                 CONCLUSION AND PRAYER

       WHEREFORE, PREMISES CONSIDERED, for the reasons shown above, Defendant La

Vernia Independent School District respectfully moves the Court to grant its Motion to Dismiss

Plaintiffs’ First Amended Complaint for Failure to State a Claim Upon Which Relief Can Be

Granted and furthermore grant it any and all relief to which it is justly entitled.




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                                                    Respectfully Submitted,

                                             By:    /s/ D. Craig Wood
                                                    D. Craig Wood
                                                    Attorney-in-Charge
                                                    State Bar No. 21888700
                                                    cwood@wabsa.com

                                             By:    /s/ Katie Payne
                                                    Katie E. Payne
                                                    State Bar No. 24071347
                                                    kpayne@wabsa.com

                                             WALSH GALLEGOS TREVIÑO
                                             RUSSO & KYLE P.C.
                                             100 NE Loop 410, Suite 900
                                             San Antonio, Texas 78216
                                             TEL. NO.: (210) 979-6633
                                             FAX NO.: (210) 979-7024

                                             ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

      I, the undersigned, hereby certify that on the 26th day of January, 2018, a true and correct
copy of the above and foregoing was electronically filed with the Clerk of the Court using
CM/ECF system, which will send notification of such filing to the following:

PLAINTIFFS’ COUNSEL:
Tim Maloney
Law Offices of Maloney & Campolo
926 S. Alamo
San Antonio, Texas 78205


                                                    /s/ D. Craig Wood
                                                    D. Craig Wood




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